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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 JOSEPH BOLOGNA, et al.,

                         Plaintiff,
                                                                CIVIL ACTION
        v.                                                      NO. 24-3185

 TRACY TRIPP, et, al,

                         Defendant.




                                            ORDER

       AND NOW, this 19th day of December 2024, upon consideration of Plaintiffs’ Response

in Opposition to Defendants’ Krasner, Tripp and Rocks Motion to Extend Time to File a Response

to the Complaint, which contains a Motion to Disqualify Counsel (Doc. No. 16), the Order of this

Court requiring Defendants Tripp and Rocks to consult with separate ethics counsel (Doc. No. 27),

the letter filed under seal by Josh J.T. Bryne, Esquire, dated October 29, 2024 (Doc. No. 29), the

letter filed under seal by David Smith, Esquire, dated November 6, 2024 (Doc. No. 30), the letter

filed under seal by David Smith, Esquire, dated November 6, 2024 (Doc. No. 31) the letter filed

under seal by Lisa A. Mathewson, Esquire, dated November 11, 2024 (Doc. No. 32), the statements

of counsel for the parties and ethics counsel at the hearing held on December 18, 2024, and for the

reasons stated by the Court at the hearing held on December 18, 2024, it is ORDERED that

Plaintiff’s Motion to Disqualify Counsel (Doc. No. 16) is DENIED WITHOUT PREJUDICE.




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       It is FURTHER ORDERED that Defendants Lawrence Krasner, Esquire, Tracey Tripp,

Esquire, and Sergeant Gerald Rocks, shall file a response to the Complaint by January 15, 2025.



                                                   BY THE COURT:


                                                   /s/ Joel H. Slomsky
                                                   JOEL H. SLOMSKY, J.




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